       2:17-cr-20037-JES-JEH # 397        Page 1 of 10                                        E-FILED
                                                                  Monday, 24 June, 2019 04:43:35 PM
                                                                       Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )
                                          )
              vs.                         )      Case No. 17-CR-20037
                                          )
BRENDT A. CHRISTENSEN,                    )
                                          )
       Defendant.                         )

                     THE UNITED STATES OF AMERICA’S MOTION
                    TO PRECLUDE IMPROPER REMORSE EVIDENCE

       NOW COMES the United States of America, by John C. Milhiser, United States

Attorney for the Central District of Illinois, Eugene L. Miller and Bryan Freres, Assistant

United States Attorneys, and Department of Justice Trial Attorney James B. Nelson, and

respectfully files this motion to preclude the defendant from admitting “remorse”

evidence during the penalty phase through improper means. The bases for the United

States’ motion follow.

                                      ARGUMENT

       Based on those arguments, the United States anticipates that the defendant may

attempt to introduce “remorse” evidence through other means that prevent the United

States from effectively challenging that evidence. Such attempts should be disallowed.

   1. The Court Should Preclude the Defendant From Making an Unsworn
      Allocution

       As the Court is aware, an allocution is “[a]n unsworn statement from a convicted

defendant to the sentencing judge or jury in which the defendant can ask for mercy,
       2:17-cr-20037-JES-JEH # 397          Page 2 of 10



explain his or her conduct, apologize for the crime, or say anything else in an effort to

lessen the impending sentence.” United States v. Jackson, 549 F.3d 963, 980 n. 22 (5th Cir.

2008) (citing BLACK’S LAW DICTIONARY (8th ed. 2004)). 1 The United States anticipates

that the defendant may seek to give an unsworn allocution during the penalty phase.

Any such request should be denied.

       The United States concedes that a handful of district courts, while

acknowledging that they are not required to do so, have permitted capital defendants

with a limited opportunity to allocute during the penalty phase. The United States

maintains, however, that these decisions were erroneous in light of the well-reasoned

opinions from the Fourth, Fifth, Sixth, and Eighth Circuits, which have repeatedly

affirmed decisions to exclude unsworn allocution.

       Capital defendants have no right to give an unsworn allocution during the

penalty phase. See United States v. Hall, 152 F.3d 381, 391-97 (5th Cir. 1998) (analyzing

the history of allocution and concluding that no constitutional or statutory right to

allocate exists in capital sentencing hearings), abrogated on other grounds by United States

v. Martinez-Salazar, 528 U.S. 304 (2000). Notwithstanding its abrogation on other

grounds, the Fifth Circuit continues to follow Hall on this point. United States v. Jackson,

549 F.3d 963, 980-81 (5th Cir. 2008); see also United States v. Purkey, 428 F.3d 738, 761 (8th




       1The United States understands that the rules of evidence are relaxed in a
penalty phase, and that other types of evidence, such as hearsay, are acceptable even
though they would be precluded from a trial. 18 U.S.C. § 3593(c). As the Courts have
held, however, a defendant’s allocution is treated differently than other types of
evidence.
                                              2
       2:17-cr-20037-JES-JEH # 397          Page 3 of 10



Cir. 2005) (following Hall); United States v. Barnette, 211 F.3d 803, 820 (4th Cir. 2000)

(same).

       In Purkey, the Eighth Circuit upheld the district court’s refusal to allow a capital

defendant to make a statement to the jury without being subject to cross-examination.

Purkey, 428 F.3d at 761. The Court reasoned as follows:

       First, our circuit previously has recognized that the right to allocution
       does not emanate from the Constitution. See United States v. Patterson, 128
       F.3d 1259, 1260 (8th Cir. 1997) (per curiam); see also Barnette, 211 F.3d at 820;
       Hall, 152 F.3d at 396. Therefore, even if Mr. Purkey were correct that the
       district court denied him the right to allocution, the error would not be a
       constitutional one.

       Second, Mr. Purkey does not have a statutory right to make statements to
       a jury during the penalty phase of an FDPA trial without being subject to
       cross-examination. Rule 32(i)(4)(A)(ii) requires that “before imposing
       sentence,” the district court must “permit the defendant to speak or
       present any information to mitigate the sentence.” The district court
       satisfied Rule 32 when it allowed Mr. Purkey to speak “before imposing
       sentence.” See Hall, 152 F.3d at 392. Although Mr. Purkey’s allocution
       could not have mitigated his sentence because it followed the jury’s
       recommendation of the death penalty, see 18 U.S.C. § 3594, nowhere does
       Rule 32 grant Mr. Purkey a right to allocution before a jury; Rule 32 speaks
       only of “the court.” We agree with the Fifth Circuit that Rule
       32(i)(4)(A)(ii) should not be interpreted to entitle Mr. Purkey to a right of
       allocution before the jury “when the plain language of the rule does not
       dictate such an interpretation.” Hall, 152 F.3d at 393; see also Barnette, 211
       F.3d at 820. As for the FDPA, nowhere does it mention a right to
       allocution or anything comparable; Mr. Purkey’s claimed right on that
       ground therefore does not exist.

Id. Indeed, “[n]o circuit court of appeals has recognized a constitutional right to

allocution before the jury during the sentencing phase of a federal capital trial. . . .”

United States v. Lawrence, 735 F.3d 385, 407 (6th Cir. 2013).




                                               3
       2:17-cr-20037-JES-JEH # 397         Page 4 of 10



       As noted in Purkey, allocution is permitted in a limited setting – sentencing

hearings before the court. See FED. R. CRIM. P. 32(i)(4). The rule provides no basis for

concluding that capital defendants enjoy a right to allocute to the jury. See, e.g., Purkey,

428 F.3d at 761; Barnette, 211 F.3d at 820; Hall, 152 F.3d at 392. Neither does the FDPA

permit an unsworn allocution. 18 U.S.C. § 3591, et seq. The FDPA was enacted after

Rule 32; therefore, the rules of statutory construction dictate that the FDPA controls in

the event of a conflict. FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 143 (2000).

       To put it simply, there is no basis in the Constitution, Rule 32, or the FDPA to

allow the defendant to make an unsworn allocution to the jury. In the absence of

express statutory authorization, it is clear that an unsworn allocution would run afoul

of 18 U.S.C. § 3593(c), which provides that evidence must be excluded “if its probative

value is outweighed by the danger of creating unfair prejudice, confusing the issues, or

misleading the jury.” An unsworn and unconfronted statement by the defendant would

be, for want of any indicia of reliability, substantially more prejudicial than probative.

Cf. California v. Green, 399 U.S. 149, 158 (1970) (referring to cross-examination as “the

greatest legal engine ever invented for the discovery of truth”).

       Should the defendant wish to do so, he will have an opportunity to address the

jury during the penalty phase. The law mandates, however, that he do so under oath

from the witness stand, and with the understanding that his testimony will be subject to




                                              4
       2:17-cr-20037-JES-JEH # 397        Page 5 of 10



cross-examination. The defendant should not be permitted to give an unsworn

allocution. 2

   2. The Court Should Preclude the Defendant From Introducing Hearsay Conduit
      Evidence Through a Mitigation Specialist

       In addition to his legal team, the defendant is represented by a “mitigation

specialist” who has been engaged to gather information that might be useful in support

of his penalty phase presentation. The defendant has listed her as a potential witness in

the penalty phase. The mitigation specialist’s role includes gathering records as well as

interviewing any number of witnesses – including the defendant’s family members,

friends, or people who have known him at any point in his life. To the extent that any

such statements are relevant to the penalty phase, they should be presented by available

witnesses rather than allowing the mitigation specialist to act as a wholesale hearsay

conduit for witnesses who would otherwise be subject to cross-examination.

       The United States recognizes that any “information” relevant to the sentence,

including any mitigating or aggravating factor, is admissible at sentencing “regardless



       2 Should the Court allow the defendant to give an unsworn allocution, the Court
would be required to explain to the defendant that such an allocution constitutes a
limited Fifth Amendment waiver “that allows the prosecution to argue for an adverse
inference from a defendant’s failure to testify as to that to which he has allocuted.”
United States v. Whitten, 610 F.3d 168, 199-200 (2d Cir. 2010) (citing Booth v. State, 507
A.2d 1098, 1114 (Md. 1986) (explaining that the defendant’s allocution constitutes, “at a
minimum, a waiver of any privilege to avoid comment by the prosecutor on the
allocution”), rev’d on other grounds, Booth v. Maryland, 482 U.S. 496 (1987), overruled by
Payne v. Tennessee, 501 U.S. 808 720 (1991)). As the Second Circuit noted, however, the
navigation of this waiver and what the United States can, and cannot, say in comment
on the defendant’s decision not to testify creates a slippery slope on appeal. Id. at 200.


                                            5
       2:17-cr-20037-JES-JEH # 397            Page 6 of 10



of its admissibility under the rules governing admission of evidence at criminal trials

except that information may be excluded if its probative value is outweighed by the

danger of creating unfair prejudice, confusing the issues, or misleading the jury.” 18

U.S.C. § 3593(c). The United States also recognizes that information about the

defendant’s childhood and upbringing is at the core of any mitigation case. The United

States does not challenge the defendant’s statutory and Constitutional right to introduce

evidence of his childhood. Rather, the United States challenges the vehicle for the

introduction of such information.

       Two principles inform the admissibility of evidence at a capital penalty phase.

United States v. Wilson, 956 F. Supp. 2d 397, 399 (E.D.N.Y. 2013). First, the Supreme

Court has noted that under the Constitution, “[t]he finality of the death penalty requires

a ‘greater degree of reliability’ when it is imposed.” Murray v. Giarratano, 492 U.S. 1, 8-9

(1989) (citation omitted); see also United States v. Fell, 531 F.3d 197, 207 (2d Cir. 2008)

(recognizing the “heightened reliability standards required in capital trials”). Similarly,

the Federal Death Penalty Act provides that “[i]nformation is admissible regardless of

its admissibility under the rules governing admission of evidence at criminal trials

except that information may be excluded if its probative value is outweighed by the

danger of creating unfair prejudice, confusing the issues, or misleading the jury.” 18

U.S.C. § 3593(c); see also United States v. Fell ( Fell I ), 360 F.3d 135, 145 (2d Cir. 2004).

       Second, the Supreme Court has indicated that so long as evidence is not unduly

prejudicial, “it is desirable for the jury to have as much information before it as possible

when it makes the sentencing decision.” Gregg v. Georgia, 428 U.S. 153, 204, (1976); see

                                                 6
        2:17-cr-20037-JES-JEH # 397        Page 7 of 10



also Fell I, 360 F.3d at 143 (“[T]he Supreme Court has ... made clear that in order to

achieve such ‘heightened reliability,’ more evidence, not less, should be admitted on the

presence or absence of aggravating and mitigating factors . . . .”) (original emphasis).

        In Wilson, the District Court for the Eastern District of New York precluded the

defendant from introducing his own statement made shortly after the murder in the

penalty phase of trial. The defendant sought to present self-serving hearsay evidence of

two statements he allegedly made to a convicted co-conspirator. Id. at 400. In finding

the evidence unreliable, the Court held that the “statements, even if not being offered

for their truth, are two levels removed: Wilson seeks to offer documentary proof of

what [he] said Wilson said. Thus, [the] statements of are [sic] extremely limited

probative value.” Id. at 401-402.

        Similarly, in United States v. Catalan-Roman, the Court precluded the defendant

from introducing the results of exculpatory polygraph results during the penalty phase

of a capital trial. 368 F. Supp. 2d 119, 121 (D.P.R. 2005). In preparation for the penalty

phase, the defendant sought and was granted permission to conduct polygraph testing.

He then moved to present the polygraph results, in support of his claim of non-

participation in the attempted robbery. In holding the evidence inadmissible, the Court

held:

        Although capital sentencing proceedings are released from the strictures of the
        Federal Rules of Evidence, see 18 U.S.C. § 3593(c), the trial judge retains his
        traditional role as gatekeeper of constitutionally permissible information, and
        must accordingly exclude any unreliable or prejudicial information that might
        render a trial fundamentally unfair. See U.S. v. Fell, 360 F.3d 135, 145 (2d Cir.
        2004) (collecting cases). In addition, the Federal Death Penalty Act (“FDPA”)
        circumscribes the right to present mitigating information by excluding any

                                             7
       2:17-cr-20037-JES-JEH # 397         Page 8 of 10



      relevant information the probative value of which is “outweighed by the danger
      of creating unfair prejudice, confusing the issues, or misleading the jury.” 18
      U.S.C. § 3593(c). These safeguards promote the imposition of an individualized sentence
      as required by constitutional parameters, while precluding the penalty phase of a capital
      trial from devolving into an evidentiary free-for-all. See e.g. Fell, 360 F.3d at 146
      (collecting cases).

Id. at 121-122 (emphasis added).

      In much the same way, allowing the defendant to proffer evidence through his

mitigation specialist, rather than through the appropriate witnesses, would not only

create an “evidentiary free-for-all” by permitting unreliable double-hearsay in lieu of

live testimony – it would confuse the issues and mislead the jury. Here, as in Wilson

and Catalan-Roman, the Court should preclude the defendant from offering “twice-

removed” statements and unreliable evidence in the penalty phase through the

testimony of a mitigation specialist. There are other, more appropriate, methods of

presenting the testimony of an unavailable witness – such as a videotaped statement.

The United States does not object to the defendant raising mitigation evidence within

the parameters of the FDPA, but such evidence should be admitted through the

appropriate witness.

                                      CONCLUSION

      The defendant is entitled to rebut the Lack of Remorse aggravating factor

through proper evidence and testimony during its penalty phase case-in-chief. That

rebuttal may not, however, include an unsworn allocution from the defendant in lieu of

sworn testimony. Neither may the defendant’s rebuttal rest on hearsay conduit

testimony from a mitigation specialist or other such witnesses. If the defendant wishes


                                              8
       2:17-cr-20037-JES-JEH # 397        Page 9 of 10



to introduce evidence of his statements or feelings in rebuttal to the aggravating factors,

he will have the opportunity to do so from the witness stand.

       Respectfully submitted,

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                                             9
      2:17-cr-20037-JES-JEH # 397        Page 10 of 10



                             CERTIFICATE OF SERVICE

      I hereby certify that on June 24, 2019, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing

to counsel of record.



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                                            10
